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IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF MARYLAND

LOIS ANN GIBSON, et al.                         *
                                                *
      Plaintiffs                                *
                                                *
      v.                                        *      Civil No. 1:22-cv-1642-GLR
                                                *
FREDERICK COUNTY, MARYLAND, et al.              *
                                                *
      Defendants                                *

                              ENTRY OF APPEARANCE

      Please enter the appearance of Patricia Lisehora Kane as co-counsel for Defendant

Montgomery County, Maryland in the above-captioned case.

                                                Respectfully submitted,

                                                JOHN P. MARKOVS
                                                ACTING COUNTY ATTORNEY

                                                        /s/
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